Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 1 of 18            PageID #:
                                    1987


                  IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

 ATOOI ALOHA, LLC, ET AL.,                       Civ. No. 16-00347 JMS-RLP
                                                 ORDER RE: MOTIONS FOR
                    Plaintiffs,                  SUMMARY JUDGMENT AND
       vs.                                       MOTION FOR INTERLOCUTORY
                                                 DECREE OF FORCLOSURE
 ABNER GAURINO, ET AL.,

                 Defendants.
 __________________________________

 AND RELATED CROSSCLAIMS AND
 COUNTERCLAIMS.


   ORDER RE: MOTIONS FOR SUMMARY JUDGMENT AND MOTION
       FOR INTERLOCUTORY DECREE OF FORECLOSURE

                                  I. INTRODUCTION

              Plaintiffs Atooi Aloha, LLC (“Atooi Aloha”), Craig Stanley

 (“Stanley”) (individually and as trustee for the Edmon Keller and Cleavette Mae

 Stanley Family Trust (the “Trust”)), and Millicent Andrade (“Andrade”)

 (collectively, “Plaintiffs”) claim they were fraudulently induced to invest

 approximately $500,000 in cash and real property in a Ponzi or pyramid scheme

 run through “Bidders Paradise,” a penny auction site affiliated with a Hong Kong

 corporation known as Better Living Global Marketing (“BLGM”).

              Before the court are three motions: (1) Defendants Fidelity National

 Title & Escrow of Hawaii, Inc. and Rommel Guzman’s (collectively, “Fidelity”)
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 2 of 18                     PageID #:
                                    1988


 Motion for Summary Judgment, ECF No. 166, and Defendants Abner and Aurora

 Gaurino (collectively the “Gaurinos”)1 and their daughter Abigail Gaurino’s

 Motion for Joinder therein, ECF No. 191; (2) Defendant Cristeta C. Owan’s

 (“Owan”) Motion for Summary Judgment, ECF No. 202; and (3) Defendant APT-

 320, LLC’s (“APT-320”) Motion for Summary Judgment and for Interlocutory

 Decree of Foreclosure, ECF No. 164. For the following reasons, Fidelity’s Motion

 and APT-320’s Motion are GRANTED, but the Motion for Joinder is DENIED,

 and Owan’s Motion is DENIED.

                                    II. BACKGROUND

 A.     Factual Background

               According to the First Amended Complaint (“FAC”), Owan and the

 Gaurinos gave a presentation at Owan’s office urging attendants, including

 Andrade, to purchase “shares” or “units” of BLGM, promising that investors

 would triple their investment within three to six months. FAC ¶ 28-29, ECF No.

 30. Owan called the “opportunity” a “safe” and “great investment,” and “the real

 deal” that “really works.” Id. at ¶¶ 30, 32. The Gaurinos assured Andrade that

 they would buy any units she purchased if she were not “satisfied with the business

 opportunity.” Id. ¶ 31.

        1
           The court uses “the Gaurinos” to refer collectively only to Abner and Aurora Gaurino.
 When referring to Abigail Gaurino (or Abner or Aurora Gaurino individually) the court uses the
 party’s first name.

                                                2
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 3 of 18             PageID #:
                                    1989


              Between October 2, 2013 and November 15, 2013, Plaintiffs paid the

 Gaurinos over $61,000 for BLGM stock using electronic funds transfers or checks

 variously made out to “Cash,” “Bliss 4 Life,” (the Gaurinos’ BLGM account), and

 an individual named So Chau Pui. Id. ¶¶ 33-36. Then on February 13, 2014,

 Atooi Aloha entered into an escrow agreement to purchase 333 shares of BLGM

 by transferring title to a condominium (the “Diamond Head Sands Property” or the

 “Property”) to Abigail. Id. ¶ 37. According to Plaintiffs, the Gaurinos told

 Plaintiffs that they would return Plaintiffs’ cash and real property, if asked. Id.

 ¶ 43. “For escrow purposes,” however, the Gaurinos told Plaintiffs “that they must

 state on the Seller’s Settlement Statement that [Abigail] paid them $300,000 for the

 Diamond Head Sands Property.” Id. ¶ 38. Fidelity served as the escrow company

 for the transaction.

              Following the transfer, Abigail obtained a $220,000 loan from

 Investors Funding Corporation (“IFC”). She signed an interest-only Note in favor

 of IFC for that amount, which is secured by a Mortgage on the Property. ECF Nos.

 165-3 to -4. IFC then assigned the Mortgage to APT-320. ECF No. 165-5.

 Abigail has failed to repay the amounts owed. Joseph Gedan Decl. ¶ 9, ECF No.

 165-1.

              Plaintiffs allege that they never received certificates for shares that

 they purchased. FAC ¶ 72. They further allege that such stock is “worthless” and

                                            3
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 4 of 18              PageID #:
                                    1990


 that they have not received any of the promised returns, either on their investment

 or of their cash and property. Id. ¶¶ 40, 41-46.

 B.    Procedural Background

              The FAC recites eight causes of action: Counts One through Three

 assert violations of the Securities Exchange Act, including the unregistered and

 fraudulent sale of securities; Counts Four through Six allege state-law fraud claims

 under both Hawaii statute and the common law; Count Seven seeks an imposition

 of a constructive trust on the Diamond Head Sands Property; and Count Eight

 seeks to quiet title to the Property in the name of Craig B. Stanley, “as Trustee . . .

 or otherwise as [he] may so direct.” FAC at 14-25.

              Defendant APT-320 filed a Crossclaim against Fidelity, Owan,

 Abigail and the Gaurinos and a Counterclaim against Plaintiffs asserting its right to

 foreclose on the Property. ECF No. 40. It filed a First Amended Crossclaim and

 Counterclaim on June 6, 2017. ECF No. 57. And it a filed Third-Party Complaint

 against the Association of Apartment Owners of Diamond Head Sands (“the

 Association”) on September 26, 2017, based on a Notice of Lien the Association

 recorded for common expenses owed to it, claiming that the Association’s interests

 in the Property, “if any, are junior or subordinate to APT-320’s Mortgage,

 Assignment of Rents and Security Agreement.” ECF No. 145 ¶ 11.




                                            4
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 5 of 18            PageID #:
                                    1991


              Fidelity filed a Crossclaim against Abigail, the Gaurinos, and Owan,

 asserting that, should Plaintiffs recover against it, “then one some or all of Cross-

 Claim Defendants are liable to Fidelity.” ECF Nos. 46 and 46-1 ¶ 4.

              Abigail and the Gaurinos filed a Counterclaim against Plaintiffs, ECF

 No. 52, and a Crossclaim against Fidelity, asserting that should Plaintiffs prevail

 against them, they are entitled to indemnification and damages. ECF No. 53.

              APT-320 filed its Motion for Summary Judgment and for

 Interlocutory Decree of Foreclosure on October 25, 2017. ECF No. 164. No

 opposition to that motion has been filed.

              Fidelity filed its Motion for Summary Judgment the same day. ECF

 No. 166. Plaintiffs filed an Opposition, ECF No. 211, and Fidelity replied, ECF

 No. 224. Abigail and the Gaurinos filed their Motion for Joinder on November 7,

 2017. ECF No. 191. Plaintiffs opposed that Motion, ECF No. 213, and Abigail

 and the Gaurinos replied, ECF No. 222. All other parties filed Statements of No

 Position, ECF Nos. 207, 210, 221, although Fidelity’s Statement is qualified in one

 respect, ECF No. 207.

              Owan moved for summary judgment on December 18, 2017. ECF

 No. 202. Plaintiffs opposed the Motion on January 1, 2018, ECF No. 215, and

 Owan replied on January 9, 2018, ECF No. 226.

              A hearing was held on January 22, 2018.

                                             5
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 6 of 18            PageID #:
                                    1992


                          III. STANDARD OF REVIEW

              Summary judgment is proper when there is no genuine issue of

 material fact and the moving party is entitled to judgment as a matter of law. Fed.

 R. Civ. P. 56(c). The burden initially lies with the moving party to show that there

 is no genuine issue of material fact. T.W. Elec. Serv., Inc. v. Pac. Elec.

 Contractors Ass’n, 809 F.2d 626, 630 (9th Cir. 1987). Nevertheless, “summary

 judgment is mandated if the non-moving party ‘fails to make a showing sufficient

 to establish the existence of an element essential to that party’s case.’” Broussard

 v. Univ. of Cal. at Berkeley, 192 F.3d 1252, 1258 (9th Cir. 1999) (quoting Celotex

 Corp. v. Catrett, 477 U.S. 317, 322 (1986)). An issue of fact is genuine “if the

 evidence is such that a reasonable jury could return a verdict for the nonmoving

 party.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986). An issue is

 material if the resolution of the factual dispute affects the outcome of the claim or

 defense under substantive law governing the case. See Arpin v. Santa Clara Valley

 Transp. Agency, 261 F.3d 912, 919 (9th Cir. 2001). When considering the

 evidence on a motion for summary judgment, the court must draw all reasonable

 inferences on behalf of the nonmoving party. Matsushita Elec. Indus. Co. v. Zenith

 Radio, 475 U.S. 574, 587 (1986).

              “One of the principal purposes of the summary judgment rule is to

 isolate and dispose of factually unsupported claims or defenses[.]” Celotex, 477

                                           6
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 7 of 18              PageID #:
                                    1993


 U.S. at 323-24. “There is no genuine issue of fact if the party opposing the motion

 ‘fails to make an adequate showing sufficient to establish the existence of an

 element essential to that party’s case, and on which that party will bear the burden

 of proof at trial.’” Taylor v. List, 880 F.2d 1040, 1045 (9th Cir. 1989) (quoting

 Celotex, 477 U.S. at 322). Moreover, there is no genuine issue of material fact if,

 taking the record as a whole, a rational trier of fact could not find in favor of the

 non-moving party. Matsushita Elec. Indus. Co., 475 U.S. at 586; Taylor, 880 F.2d

 at 1045.

                                  IV. DISCUSSION

 A.    Fidelity’s Motion for Summary Judgment

              Although most counts in the FAC are directed at “Defendants”

 generally, the only factual allegation against Fidelity appears in a single paragraph

 in Count Seven. That paragraph states in its entirety,

              Title of the [Diamond Head Sands] Property passed to
              ABIGAIL GAURINO despite the fact that the escrow
              was told that no transfer of ownership of the Property
              was to take place until the shares [of BLGM stock] were
              actually received, and the value of shares on that date
              could be determined. FIDELITY agreed no[t] to close
              escrow without proof the share[s] had been delivered and
              of their value. FIDELITY closed escrow without any
              receipt of any shares, and without the permission of
              Craig B[.] Stanley, in any capacity or at all.

 FAC ¶ 76.



                                            7
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 8 of 18                           PageID #:
                                    1994


                To the extent that this allegation constitutes a claim for breach of

 escrow instructions, Fidelity contends that the only Plaintiff with standing to assert

 such a claim is Atooi Aloha — the only plaintiff who was also a party to the

 Escrow Agreement. But it contends such a claim fails because the Escrow

 Agreement did not contain the promises or instructions alleged, and there is no

 evidence Fidelity breached the actual instructions for the transaction. 2 Mot. at 12,

 ECF No. 166.

                In response, Plaintiffs do not contest Fidelity’s assertions regarding

 standing or its compliance with the escrow instructions. In fact, they appear to

 abandon even the factual allegations above. Instead, they argue that Fidelity

 breached its “duty of care to Atooi by allowing the transaction to close without

 obtaining all the required signatures from Atooi.” Opp’n at 3, ECF No. 211.

 Although Plaintiffs’ brief is far from clear, they appear to contend that Fidelity

 failed to follow its internal policy and obtain Atooi Aloha’s operating agreement

 before closing escrow. This, they contend, led to Fidelity’s failure to discover that

 both Andrade and Stanley should have signed on behalf of Atooi Aloha. And they

 argue that, as a result, a material question of fact exists as to whether Fidelity acted



        2
          Fidelity also strangely contends that this court “should grant summary judgment in
 favor of Fidelity since . . . Plaintiffs’ claims fail to conform to Fed. R. Civ. P. 8.” Mot. at 8-9,
 ECF No. 166. As counsel should well know, this is not the standard for granting a summary
 judgment motion.

                                                    8
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 9 of 18            PageID #:
                                    1995


 with “reasonable skill and diligence” in carrying out the escrow instructions.

 Opp’n at 14.

                Initially, the Operating Agreement, without more, does not show that

 Stanley’s signature was required. Plaintiffs point to the language in § 4.1(B) of the

 Agreement that “all activities or transactions must be approved by the Members,”

 Operating Agreement, ECF No. 212-7 and Plaintiffs’ Statement of Fact ¶ 17, ECF

 No. 212, but they omit the sentence following that clause: “With such approval, the

 signature of any Members authorized to sign on behalf of the Company is

 sufficient to bind the Company with respect to the matter or matters so approved.”

 Operating Agreement, § 4.1(B). Such selective quotation is misleading, and

 counsel are reminded of their duty of candor to the court. Moreover, although

 § 4.1(C) of the Operating Agreement does require all members’ signatures for

 certain specified matters, Plaintiffs have neither argued, nor offered any evidence

 to support the conclusion, that this transaction was one such matter.

                But even assuming the lack of Stanley’s signature creates a factual

 issue on that point, the fact is immaterial. “The general rule is that an escrow

 depository occupies a fiduciary relationship with the parties to the escrow

 agreement or instructions and must comply strictly with the provisions of such

 agreement or instructions.” DeMello v. Home Escrow, Inc., 4 Haw. App. 41, 47,

 659 P.2d 759, 763 (1983). “The statutory definition of ‘escrow’ specifically limits

                                            9
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 10 of 18             PageID #:
                                    1996


 the depository’s function to acts performed ‘in accordance with the terms of the

 agreement between the parties to the transaction.’” Id. “Accordingly, an escrow

 [holder] has no duty to ‘police’ a transaction for the parties.” Stanton v. Bank of

 Am, N.A., 2010 WL 4176375 at *3 (D. Haw. Oct. 19, 2010) (citing Summit Fin.

 Holdings, Ltd. v. Cont’l Lawyers Title, Co., 27 Cal.4th 705, 711 (2002) (“[A]n

 escrow holder has no general duty to police the affairs of its depositors; rather, an

 escrow holder’s obligations are limited to faithful compliance with [the

 depositors’] instructions.”)).

              Plaintiffs have pointed to no authority that would support their

 assertion that Fidelity had a duty to follow anything other than the escrow

 instructions. In fact, what authority they do cite supports Fidelity. In Oakview

 Terrace v. Owens Fin. Corp., Inc., 1994 WL 173928 (N.D. Cal. Apr. 19, 1994),

 plaintiff alleged that a partner had wrongfully encumbered partnership property

 without the approval of the other partners; it further alleged that the escrow holder

 knew or should have known of the violation, yet failed to inform the partnership,

 preventing the partnership from taking preventative action. Id. at *1. The court

 stated that the “ordinary and reasonably expected functions” of an escrow holder

 may include sheltering parties from certain anticipated harms, “usually the acts or

 omissions of the other party to the escrow,” but that harm by one partner to another

 “was simply not an injury reasonably contemplated by the escrow.” Id. at *3.

                                           10
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 11 of 18             PageID #:
                                    1997


 Further stating that “[t]here is simply no duty on the part of an escrow holder to

 police the affairs of its depositors” it found the escrow holder had “violated no

 duty” to the plaintiff. Id. at *3-4 (internal quotation marks and citations omitted).

              In Tavenner v. Talon Group, 2012 WL 6022836 (W.D. Wash. Dec. 4,

 2012), the issue was whether the escrow holder had breached its fiduciary duty by

 “charging and collecting a ‘recording fee’ in excess of the actual cost of recording

 the [subject] deed.” Id. at *3. The court found that “negligence in carrying out the

 principal’s instructions violates the fiduciary’s duties of skill and diligence.” Id. at

 *4 (emphasis added). The instructions in Tavenner allowed the escrow holder to

 “charge a fee for its services as closing agent, an additional, reasonable fee if the

 nature of the services changed, and any third-party costs incurred in connection

 with the closing.” Id. at *3. The court noted that “[t]he obligation to pay for

 third-party costs [was] described as ‘reimbursement’ for the closing agent’s ‘out-

 of-pocket costs and expenses,’” and it held “[t]he fact that the Escrow Instructions

 did not specifically preclude defendant from secretly profiting on third-party

 charges does not mean it was free to do so. The general rule barring a fiduciary

 from self-dealing should have made it patently obvious that undisclosed mark-ups

 ///

 ///

 ///

                                            11
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 12 of 18                         PageID #:
                                    1998


 were forbidden.” Id. at *3, 4. Here, there is no dispute that Fidelity abided by the

 instructions, 3 and there is no similar claim of self-dealing.

                Finally, Plaintiffs cite Clement v. Clement, 136 B.R. 557 (C.D. Cal.

 1992). The facts of that case are inapposite. There, the escrow holder acted on an

 instruction from a single party to the escrow agreement in contravention of the

 original escrow instructions; the court held that, therefore, the escrow holder may

 have breached her fiduciary duty to the other escrow party. Id. at 561-62.

                An escrow holder’s duty is tied to the escrow instructions, which in

 this case specifically disavowed any duty to determine “the sufficiency or

 correctness as to form, manner of execution, or validity of any instrument

 deposited in this escrow” or determine “the identity, authority or rights of any

 person executing the same.” Sale Escrow Instructions ¶ 20, ECF No. 166-4.

 Plaintiffs have not shown any evidence that Fidelity acted contrary to the escrow

 instructions or that Fidelity failed to use skill and diligence in carrying out those

 instructions. Fidelity’s motion for summary judgment is GRANTED. 4


        3
          At the hearing on the motion, counsel pointed to the instruction stating that Fidelity “is
 authorized to prepare, obtain, record and deliver the necessary instruments to carry out the terms
 and conditions of this escrow,” Sale Escrow Instructions ¶ 4, ECF No. 166-4, but that instruction
 does not obligate Fidelity to follow any specific internal policy.
        4
           Abigail and the Gaurinos filed a single page “joinder” to Fidelity’s motion, in which
 they state that “[i]n joining said Motion, the Gaurino Defendants seek a determination by this
 Court that [Plaintiffs] have no standing and fail to state a claim against the Gaurino Defendants
 as alleged in Plaintiffs [FAC].” ECF No. 191. But nothing in Fidelity’s motion even remotely
                                                                                      (continued . . .)
                                                  12
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 13 of 18                       PageID #:
                                    1999


 B.     Owan’s Motion for Summary Judgment

                Owan complains that the FAC does not sufficiently identify what she

 “did or did not do to warrant” her inclusion in any of the claims therein. Mot. at 4,

 ECF No. 202. Although the FAC, like much of the briefing in this case, is far from

 a model of clarity, Owan makes no attempt to analyze any applicable law in

 conjunction with the facts. Instead, she bases her argument on a claim wholly

 incompatible with a summary judgment motion — that the FAC is not based on

 “true facts.” Id.

                Regarding those facts, Owan admits that she hosted the first BLGM

 presentation at her office in September 2013. Id. at 5 ¶ 1. She also admits that she

 later forwarded the PowerPoint shown at that presentation to Andrade, and she

 “accommodated” Andrade by analyzing what they had both “seen and heard of the

 BLGM opportunity.” Id. at 7 ¶ 17. She contends, however, that she did not induce

 or participate in inducing Andrade to invest in BLGM, never endorsed investment

 in BLGM, and never received any money from the Plaintiffs. Id. at 4-8. She

 further states that she had no involvement whatsoever in the “transfer or

 conveyance or refinancing” of the Diamond Head Sands Property. Id. at 9.




 (. . . continued)
 applies to Plaintiffs claims against Abigail and the Gaurinos. It is also an improper substantive
 joinder under Local Rule 7.9. Their attempted joinder in Fidelity’s motion DENIED.

                                                 13
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 14 of 18              PageID #:
                                    2000


              Plaintiffs disagree and point to Andrade’s deposition testimony, which

 supports their contention that Owan and the Gaurinos jointly made presentations

 about BLGM as an investment opportunity, guaranteed investors would double or

 triple their money, and convinced Andrade to purchase BLGM stock. Opp’n at 5-

 6, 9-12, ECF No. 215; Andrade Dep. at 13, 38-41, 43-44, 173, 257, ECF No. 216-

 2. Andrade also testified that she gave at least one of her checks to purchase the

 stock to Owan to give to the Gaurinos and that it was Owan who instructed her to

 use the name So Chau Pui on the check or checks. Andrade Dep. at 104-07.

              Neither party has attempted to compare the facts in this case with the

 elements of the specific claims alleged in the FAC, but at least some of these

 clearly disputed facts are obviously highly relevant to determining whether a fraud

 was perpetrated and by whom. It is not this court’s responsibility “to comb

 through the record in an attempt to discern whether or not there is merit to a

 motion for summary judgment.” Brann v. Mayo, 2017 WL 3016960 at *3 n. 2

 (W.D. Ark. July 14, 2017; Cf. Forsberg v. Pac. Nw. Bell Tel. Co., 840 F.2d 1409,

 1418 (9th Cir. 1988) ( “The district judge is not required to comb the record to find

 some reason to deny a motion for summary judgment.”). Because obvious

 questions of fact exist, and Owan fails to show that she is entitled to judgment as a

 matter of law, the Motion for Summary Judgment is DENIED.




                                          14
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 15 of 18            PageID #:
                                    2001


 C.    APT-320’s Motion for Summary Judgment and Interlocutory Decree of
       Foreclosure

              APT-320 requests that the court enter a Rule 54(b) judgment in its

 favor and enter an interlocutory decree of foreclosure. Mot. at 2-3, ECF No. 164.

 It also requests that the court determine that the Mortgage is a valid lien superior to

 other interests in the Property; determine further amounts due to it, “including

 principal, interest, advances, late charges, costs and expense”; appoint a

 commissioner to sell the Property, subject to confirmation; and reserve jurisdiction

 to later determine attorney’s fees and costs and enter any deficiency judgment

 following the sale. Id.

              The motion is unopposed. Therefore, the factual allegations contained

 in the separate statement of facts, including that Abigail has defaulted on her

 payment obligations under the Note and Mortgage are deemed admitted. See LR

 56.1(g) (“For purposes of a motion for summary judgment, material facts set forth

 in the moving party’s concise statement will be deemed admitted unless

 controverted by a separate concise statement of the opposing party.”).

 Additionally, the Association has filed a Statement of No Opposition specifically

 acknowledging the priority of APT-320’s valid interests. ECF No. 206. APT-320

 has met its summary judgment evidentiary burden to establish a prima facie case

 that it is entitled to foreclose on the Mortgage. Bank of Am., N.A. v. Reyes-Toledo,

 139 Haw. 361, 367, 390 P.3d 1248, 1254 (2017) (“[T]o prove entitlement to
                                           15
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 16 of 18              PageID #:
                                    2002


 foreclose, the foreclosing party must demonstrate . . . the existence of an

 agreement, the terms of the agreement, a default by the mortgagor under the terms

 of the agreement, and giving of the cancellation notice.”); see also Hawaii Revised

 Statutes § 667-1.5 (providing for foreclosure by court action).

              A foreclosure decree usually orders sale of the property and “contains

 a direction to [a] commissioner[ ] to make a report of sale and to bring the

 proceeds into court for an order regarding their disposition.” IndyMac Bank v.

 Miguel, 117 Haw. 506, 520, 184 P.3d 821, 835 (Haw. Ct. App. 2008) (quoting Int’l

 Sav. & Loan Ass’n, Ltd. v. Woods, 69 Haw. 11, 17, 731 P.2d 151, 155 (1987)).

 Under Hawaii law, foreclosure proceedings are normally bifurcated. See, e.g., City

 Bank v. Abad, 106 Haw. 406, 412-13, 105 P.3d 1212, 1218-19 (Haw. Ct. App.

 2005) (“[F]oreclosure cases are bifurcated into two separately appealable parts:

 (1) the decree of foreclosure and the order of sale, if the order of sale is

 incorporated within the decree; and (2) all other orders.”) (quoting Sec. Pac.

 Mortg. Corp. v. Miller, 71 Haw. 65, 70, 783 P.2d 855, 857 (1989)) (other citation

 omitted).

              At the first stage, proof of default is required, although “it is not

 necessary to determine a sum certain before foreclosure is decreed[.]” IndyMac

 Bank, 117 Haw. at 520, 184 P.3d at 835 (quoting Bank of Honolulu, N.A. v.

 Anderson, 3 Haw. App. 545, 549, 654 P.2d 1370, 1374 (1982)). The second stage

                                            16
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 17 of 18            PageID #:
                                    2003


 (“all other orders”) includes an order confirming the sale and a deficiency

 judgment if the proceeds do not cover the debt. See, e.g., Beneficial Haw., Inc. v.

 Casey, 98 Haw. 159, 165, 45 P.3d 359, 365 (2002); Hoge v. Kane, 4 Haw. App.

 246, 247, 663 P.2d 645, 646-47 (1983) (“In foreclosure cases which result in a

 deficiency, the last and final order which starts the clock running is usually the

 deficiency judgment.”).

              As discussed herein, the court requests that APT-320 provide for the

 court’s approval and signature an appropriate Foreclosure Decree setting forth the

 necessary terms and conditions to effectuate the foreclosure process. The parties

 are to meet and confer in the selection of a proposed foreclosure Commissioner. If

 the parties are unable to agree on a foreclosure Commissioner, each party may

 propose a foreclosure Commissioner and submit his or her name and

 qualifications, and the court will make the final selection of a foreclosure

 Commissioner.

                                 V. CONCLUSION

              Owan’s Motion for Summary Judgment is DENIED. Fidelity’s

 Motion for Summary Judgment is GRANTED, but Abigail and the Gaurino’s

 Motion for Joinder therein is DENIED. APT-320’s Motion for Summary




                                           17
Case 1:16-cv-00347-JMS-RLP Document 238 Filed 01/31/18 Page 18 of 18                      PageID #:
                                    2004


 Judgment is GRANTED. A proposed Foreclosure Decree and selection of a

 foreclosure Commissioner should be provided to this court by February 12, 2018.

                IT IS SO ORDERED.

                DATED: Honolulu, Hawaii, January 31, 2018.




                                                 /s/ J. Michael Seabright
                                                J. Michael Seabright
                                                Chief United States District Judge




 Atooi Aloha, LLC v. Gaurino, et al., Civ No. 16-00347 JMS-RLP, Order Re: Motions for Summary
 Judgment and Motion for Interlocutory Decree of Foreclosure




                                                18
